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                                                         COURT M INUTES

          U.S.MAGISTRATE JUDG E LURA NA S.SNOW -FORT LAUDERDALE,FLORIDA
                                                                                           - qo.
                                                                                               â
DEFT: JOSEANIBALLINARES (J)#                                         CASE NO : 19              -SN OW
AUSA : Duty:JodiAnton                                                ATTY:
                                                                               (Ifapplicable-appealscolloquy)
A GENT:                                                              VlO L: REM O VAL:N D/TX l8:1341,1343

PROCEEDING:                   INITIALAPPEARANCE                      M COMMENDEDBOND:                     WT
BONDHEARINGHELD-yesno-                                         COUNSELAPPOINTED:                        ' /z
                                                                                                           i               c
BOND SET @:                                                          Tobecosignedby:

Q       Do notviolateany law.                                                  ###SPANISH INTERPRETER ORDERED#?


Q       Appearin courtasdirected.
                                                                                                zo/w - 6                     ,
Q       Surrenderand /ordo notobtain passports/travel
        documents.
Q       Rptto PTS asdirected/or            x'sa week/month by

Q
        phone;              x'saweek/month in person.
        Random urinetesting by PretrialServices.
                                                                              #xA c/. u.gu szvew
        Treatmentasdeemed necessal  'y.                                            -
                                                                                                             #<
Q       M aintainorseek full-timeemployment.                                           -

                                                                                               tt/?suz h y zu gkh
Q       No contactwith victims/witnesses.
                                                                                           W                 J '
Q       Nofirearms.
                                                                                                        fD
Q       Curfew:                                                 .

Q       Travelextended to:                                       .


Q       HalfwayHouse                                            .


NEXTCOURTAPPEARANCE:                    DATE:                        TIM E:                      JUDGE:           PLACE:

INQU RY RE COUNSEL:
PTD/B DHEARING:                                 - '
                                                  -
                                                  eJ                          ..
                                                                               *
PRELIM/       IGN.OR MOVAL:                        ---    '-                       ,
CHECK IF                     ForthereasonsstatedbycounselfortheDefendantandfindingthattheendsofjusticeservedbygrantingtheore
APPLICABLE             : tenusmotion forcontinuanceto hirecounseloutweigh thebestinterestsofthe public& the Defendantin a Speedy
                         TrialstheCourtflndsthattheperiod oftimefrom today,through and including                ,shallbedeemed
                         excludablein accordance with theprovisionsoftheSpeedy TrialAct,18 USC 3l61etseq..
DATE;      8-26-19     TIME:         l:
                                      00pm         DAR:              t    -
                                                                          .                               PAGE:

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